                              UNITED STATES DISTRICT COURT
                             EASTERN DISTRICT OF TENNESSEE
                                    AT CHATTANOOGA

 UNITED STATES OF AMERICA                      )
                                               )       COLLIER/CARTER
        v.                                     )
                                               )       CASE NO. 1:10-CR-34-10
 DALOPHEAL TAYLOR                              )

                                             ORDER

        On October 14, 2010, Magistrate Judge William B. Mitchell Carter filed a Report and

 Recommendation recommending (a) the Court accept Defendant’s plea of guilty to the lesser

 included offense in Count One of the Indictment; (b) the Court adjudicate Defendant guilty of the

 charges set forth in the lesser included offense in Count One of the Indictment; (c) the written plea

 agreement be accepted at the time of sentencing; and (d) Defendant be taken into custody pending

 sentencing in this matter (Court File No. 231). Neither party filed an objection within the given

 fourteen days. After reviewing the record, the Court agrees with the magistrate judge’s report and

 recommendation. Accordingly, the Court ACCEPTS and ADOPTS the magistrate judge’s report

 and recommendation pursuant to 28 U.S.C. § 636(b)(1) and ORDERS as follows:

        (1) Defendant’s plea of guilty to the lesser included offense in Count One of the Indictment

 is ACCEPTED;

        (2) Defendant is hereby ADJUDGED guilty of the charges set forth in the lesser included

 offense in Count One of the Indictment; and

        (3) Defendant SHALL REMAIN IN CUSTODY pending sentencing on Thursday,

 February 10, 2011, at 2:00 p.m.

        SO ORDERED.

        ENTER:




Case 1:10-cr-00034-TRM-CHS            Document 250        Filed 11/05/10      Page 1 of 2      PageID
                                            #: 693
                                   /s/
                                   CURTIS L. COLLIER
                                   CHIEF UNITED STATES DISTRICT JUDGE




                                     2


Case 1:10-cr-00034-TRM-CHS   Document 250   Filed 11/05/10   Page 2 of 2   PageID
                                   #: 694
